Case 6:18-cv-00064-RBD-GJK Document 88 Filed 01/24/19 Page 1 of 4 PageID 1621




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   PROXICOM WIRELESS, LLC,
                                                        CASE NO.: 6:18-cv-00064-RBD-GJK
          Plaintiff,

   v.

   MACY’S, INC. and MACY’S FLORIDA STORES,
   LLC,

          Defendants–Counterclaimants.


         UNOPPOSED MOTION FOR WITHDRAWAL OF JOHN BEYNON, ESQ.
            AS COUNSEL FOR PLAINTIFF PROXICOM WIRELESS, LLC

          Plaintiff Proxicom Wireless, LLC (“Plaintiff”), pursuant to Local Rule 2.03(b),

   respectfully requests that the Court enter an order permitting John Beynon, Esq. to withdraw

   as counsel for Plaintiff in this matter, and in support of this unopposed request, states:

          1.      Prior to the instant Motion, Plaintiff has been represented by Denise De Mory,

   Christina M. Finn, Chris J. Coulson and John Beynon of Bunsow De Mory LLP, as well as

   Taylor F. Ford and Robyn M. Kramer of King, Blackwell, Zehnder & Wermuth, P.A.

          2.      John Beynon is no longer with the law firm of Bunsow De Mory LLP.

          3.      Plaintiff will continue to be represented by Bunsow De Mory LLP and

   King, Blackwell, Zehnder & Wermuth, P.A. and, more specifically, attorneys Denise

   De Mory, Christina M. Finn, Chris J. Coulson, Taylor F. Ford and Robyn M. Kramer.

          4.      In accordance with Local Rule 2.03(b), undersigned counsel certifies that

   Plaintiff and opposing counsel have received at least ten days’ prior notice of the relief

   requested herein.
Case 6:18-cv-00064-RBD-GJK Document 88 Filed 01/24/19 Page 2 of 4 PageID 1622




          5.      Plaintiff has consented to the withdrawal of John Beynon from this case.

          6.      Moreover, Plaintiff’s counsel have conferred with opposing counsel, and

   Defendants Macy’s, Inc. and Macy’s Florida Stores, LLC do not oppose the granting of this

   Motion.

          7.      Based on the foregoing and, as discussed further below, the Court should

   grant the instant Motion and permit Mr. Beynon to withdraw.

               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

          Pursuant to Local Rule 3.01(g), on January 4, 2019, counsel for Plaintiff conferred

   with counsel for Defendants Macy’s, Inc. and Macy’s Florida Stores, LLC regarding the

   relief requested in this motion, and Defendants do not oppose the relief sought herein.

                        INCORPORATED MEMORANDUM OF LAW

          The granting of a motion for counsel to withdraw is within the sound discretion of the

   Court. See, e.g., Estate of Brennan v. Church of Scientology Flag Serv. Org., Inc., No. 8:09-

   cv-264, 2010 WL 3833996, at *11 (M.D. Fla. Sept. 28, 2010), rev’d and vacated on other

   grounds, 645 F.3d 1267 (11th Cir. 2011). Pursuant to Local Rule 2.03(b), Plaintiff received

   at least ten days’ notice that attorney John Beynon intended to withdraw as its counsel, and

   Plaintiff affirmatively requests that the Court allow Mr. Beynon to withdraw. Plaintiff will

   continue to be represented by Bunsow De Mory LLP and King, Blackwell, Zehnder &

   Wermuth, P.A. and their respective attorneys of record in this case. Defendants do not

   oppose this Motion, and no party will be prejudiced by the relief requested herein.

   Accordingly, Plaintiff respectfully requests that the Court exercise its sound discretion and

   grant the instant Motion as unopposed.



                                                 -2-
Case 6:18-cv-00064-RBD-GJK Document 88 Filed 01/24/19 Page 3 of 4 PageID 1623




          WHEREFORE, Plaintiff Proxicom Wireless, LLC respectfully requests that the

   Court enter an order permitting John Beynon, Esq. to withdraw as counsel for Plaintiff,

   relieving him of any further responsibility in this matter, and providing such other and further

   relief as may be just and proper.

          Dated: January 24, 2019.

                                                Respectfully submitted,

                                                /s/ Taylor F. Ford
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                                                Christina M. Finn (Pro Hac Vice)
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                                                Counsel for Plaintiff Proxicom Wireless, LLC


                                                 -3-
Case 6:18-cv-00064-RBD-GJK Document 88 Filed 01/24/19 Page 4 of 4 PageID 1624




                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on January 24, 2019, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system, which will send a notice of

   electronic filing to all counsel of record.

                                                 /s/ Taylor F. Ford
                                                 Taylor F. Ford
                                                 Florida Bar No.: 0041008




                                                  -4-
